         Case 1:25-cv-02391-RML                     Document 4          Filed 04/30/25     Page 1 of 2 PageID #: 29

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

      JIMENA ROSALES-HERRERA, individually                          )
       and on behalf of others similarly situated,                  )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )                          1:25-cv-02391-RML
        GSA KING TOMATO FARM INC. (d/b/a                            )
        GSA King Tomato Farm Inc.), GURSOL
                                                                    )
            GILILOV and LENA GILILOV
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           See attached rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Michael Faillace
                                       Michael Faillace & Associates, P.C.
                                       60 East 42nd Street, Suite 4510
                                       New York, New York 10165


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                               CLERK OF COURT

                                                                              s/Kimberly Davis
Date:        4/30/2025
                                                                                         Signature of Clerk or Deputy Clerk
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
 JIMENA ROSALES-HERRERA, individually
 and on behalf of others similarly situated,
                                                                 Index No.
 Plaintiffs,
                                                                 RIDER TO REQUEST FOR
                                                                 SUMMONS
 -against-

 GSA KING TOMATO FARM INC. (d/b/a
 GSA King Tomato Farm Inc.), GURSOL
 GILILOV and LENA GILILOV

 Defendants.

 -------------------------------------------------------X

GSA KING TOMATO FARM INC.
(d/b/a GSA King Tomato Farm Inc.)
1140 McDonald Avenue
Brooklyn, NY 11230

Gursol Gililov
1140 McDonald Avenue
Brooklyn, NY 11230

Lena Gililov
1140 McDonald Avenue
Brooklyn, NY 11230
